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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,                                             23-cr-00118 (AT)

      v.                                                       [PROPOSED] ORDER FOR
                                                                    ADMISSION
HO WAN KWOK, et al.                                                PRO HAC VICE
                Defendants.                                              ECF CASE



           The motion of Stephen A. Best, for admission to practice Pro Hac Vice in the above-

 captioned action is granted.

           Applicant has declared that he is a member in good standing of the bars of the state of

 Virginia and of the District of Columbia; and that his contact information is as follows:

                                            Stephen A. Best
                                     BROWN RUDNICK LLP
                                  601 Thirteenth Street NW, Suite 600
                                       Washington, D.C. 20005
                                           T: (202) 536-1700
                                           F: (202) 536-1701
                                   e-mail: sbest@brownrudnick.com

           Applicant having requested admission Pro Hac Vice to appear for all purposes as counsel

 for Defendant Ho Wan Kwok in the above-entitled action;
           IT IS HEREBY ORDERED that Applicant is admitted to practice Pro Hac Vice in the

 above-captioned case in the United States District Court for the Southern District of New York.
 All attorneys appearing before this Court are subject to the Local Rules of this Court, including

 the Rules governing discipline of attorneys.


 DATED:
                                                 Honorable Analisa Torres
                                                 United States District Judge
